        Case 16-70644-JAD                       Doc 57
     Fill in this information to identify the case:
                                                              Filed 10/08/21 Entered 10/08/21 12:12:38                     Desc Main
                                                              Document Page 1 of 5
     Debtor 1              JENNIFER R. EMERSON


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          16-70644JAD




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  PNC BANK NA                                                                     3-2

 Last 4 digits of any number you use to identify the debtor's account                         3   3   8   9

 Property Address:                             539 5TH ST
                                               COLVER PA 15927




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        4,122.48

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        4,122.48

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        4,122.48


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $276.97
         The next postpetition payment is due on                11 / 1 / 2021
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


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Debtor 1     JENNIFER R. EMERSON                                              Case number   (if known)   16-70644JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   10/08/2021


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     JENNIFER R. EMERSON                                        Case number   (if known)   16-70644JAD
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
08/25/2017   1051807    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             272.77
09/26/2017   1055130    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              63.85
10/25/2017   1058488    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              60.03
11/21/2017   1061737    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              59.89
12/21/2017   1065044    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              59.75
01/25/2018   1068467    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              84.96
02/23/2018   1071650    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              84.73
03/28/2018   1074836    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             322.17
04/24/2018   1078083    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              84.78
05/25/2018   1081359    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              84.57
06/22/2018   1084478    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              84.34
07/26/2018   1087724    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             319.53
08/28/2018   1090943    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              83.89
09/25/2018   1094076    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              83.67
10/29/2018   1097322    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              81.01
11/27/2018   1100442    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              80.79
12/21/2018   1103544    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              80.57
01/25/2019   1106785    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              80.36
02/25/2019   1110026    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             309.93
03/25/2019   1113311    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              79.91
04/26/2019   1116629    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              79.69
06/25/2019   1123436    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             164.14
07/29/2019   1126873    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             317.51
03/23/2020   1154315    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              66.17
04/27/2020   1157761    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             107.66
05/26/2020   1161096    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              89.37
06/26/2020   1164258    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             306.52
07/29/2020   1167351    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              88.86
08/25/2020   1170429    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              88.61
09/28/2020   1173531    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              88.36
10/26/2020   1176618    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              94.64
11/24/2020   1179687    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              94.36
12/21/2020   1182626    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              75.09
                                                                                                                      4,122.48

MORTGAGE REGULAR PAYMENT (Part 3)
12/21/2016   1024884    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                           1,044.51
01/27/2017   1028374    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             448.41
02/24/2017   1031771    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             305.67
03/28/2017   1035214    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             293.87
04/21/2017   1038482    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             289.89
05/25/2017   1041766    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             287.72
06/27/2017   1045148    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             274.30
07/25/2017   1048446    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
08/25/2017   1051807    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
09/26/2017   1055130    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
10/25/2017   1058488    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
11/21/2017   1061737    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
12/21/2017   1065044    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
01/25/2018   1068467    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
02/23/2018   1071650    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
03/28/2018   1074836    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
04/24/2018   1078083    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
05/25/2018   1081359    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
06/22/2018   1084478    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
07/26/2018   1087724    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
08/28/2018   1090943    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
09/25/2018   1094076    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
10/29/2018   1097322    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
11/27/2018   1100442    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
12/21/2018   1103544    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
01/25/2019   1106785    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67
02/25/2019   1110026    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                             267.67

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             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                              Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
03/25/2019   1113311    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
04/26/2019   1116629    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
05/24/2019   1120018    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              163.80
06/25/2019   1123436    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              371.54
07/29/2019   1126873    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
08/27/2019   1130357    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                               36.57
09/24/2019   1133620    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              172.56
10/24/2019   1136996    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              164.71
11/25/2019   1140453    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              325.34
12/23/2019   1143846    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              325.57
01/28/2020   1147307    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              489.61
02/25/2020   1150832    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              344.07
03/23/2020   1154315    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              282.93
04/27/2020   1157761    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
05/26/2020   1161096    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
06/26/2020   1164258    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
07/29/2020   1167351    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
08/25/2020   1170429    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
09/28/2020   1173531    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
10/26/2020   1176618    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
11/24/2020   1179687    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
12/21/2020   1182626    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
01/25/2021   1185617    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
02/22/2021   1188739    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
03/26/2021   1192048    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
04/26/2021   1195283    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
05/25/2021   1198394    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
06/25/2021   1201581    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
07/26/2021   1204782    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
08/26/2021   1207930    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              267.67
09/24/2021   1211030    PNC BANK NA                           AMOUNTS DISBURSED TO CREDITOR                              612.07
                                                                                                                      16,939.94




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

JENNIFER R. EMERSON
P.O. BOX 333
COLVER, PA 15927

TIMOTHY J SLOAN ESQ
171 LOVELL AVE STE 202
EBENSBURG, PA 15931-4348

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342




10/8/21                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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